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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:                                                                Case No.: 16-20417-RAM

JOEL GARCIA PADRON,                                                   Chapter 13 Case

                 Debtor.
                                                    /

              RESPONSE TO DEBTOR’S OBJECTION TO CLAIM #3 [D.E. 60]

         Wells Fargo Bank, N.A. (the "Secured Creditor"), by and through undersigned counsel, files

this Response to Debtor’s Objection to Claim #3 [D.E. 60], and states as follows:

                                                 Background

         1.      On July 27, 2016, Debtor commenced this bankruptcy case by filing a petition for

relief under Chapter 13 of the United States Bankruptcy Code.

         2.      Secured Creditor maintains a security interest in the Debtor’s real property, located at

1078 NW 145th Street, Miami, Florida 33168 (the “Property”), by virtue of a Mortgage recorded in

Book 25186, Page 3262 of the Official Records of Miami-Dade County, Florida. Said Mortgage

secures a Note and copy of the Mortgage and the Note are attached to the filed Proof of Claim.

         3.      Pre-petition, Secured Creditor prosecuted a foreclosure action against the Debtor and

others in the matter of Wells Fargo Bank, N.A. v. Joel Garcia, et al., Miami-Dade County Case

#2016-39708-CA-01 (the “Foreclosure”). An Answer and Affirmative Defenses was filed on behalf

of the Debtor in the Foreclosure, a copy of which is attached as Exhibit A. In pertinent part, the

Debtor raised affirmative defenses related to alleged misapplication or improper application of

payments.1 Notwithstanding these defenses, on March 31, 2016 the state court entered a Final



1 See, e.g., Second Affirmative Defense; Third Affirmative Defense.
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Judgment of Foreclosure, a copy of which is attached as Exhibit B, in the amount of $230,686.98

(the “Judgment”).

         4.        On November 23, 2016, the Secured Creditor timely filed a secured Proof of Claim

(the “Claim”) [Claim No. 3] in the principal balance amount of $225,732.72, with an arrearage of

$46,198.30.

         5.        On December 1, 2017, Debtor filed the Objection to Claim #3 [D.E. 60] (the

“Objection”). Debtor does not dispute that the Claim is timely filed before the claims bar date. As

such, Secured Creditor submits the filing of the Claim “shall constitute prima facie evidence of the

validity and amount of the Claim.” Fed. R. Bankr. P. 3001 (f).

         6.        The Objection contends in essence that the arrearage claim should be reduced from

$46,198.30 to $25,000.00 due to alleged misapplication of payments or other accounting errors. The

Debtor takes this position based on a review of the Form 410A payment history attached to the Proof

of Claim, which reflects the full payment history from January 15, 2007 through July 27, 2016 (the

Petition Date).

                   a.       The Debtor asserts there was an overcharge of $6,124.45 from the period of
                            August 2010 through February 2012. See, e.g., Objection at ¶1.

                   b.       The Debtor further asserts that he “gave a bank employee a check which was
                            never applied to the account in the total of approximately $800.00.” See, e.g.,
                            Objection at ¶4. No information is provided as to the reason for this check,2
                            or the date the check was allegedly given to a bank employee.

         7.        The Debtor’s Objection seeks to in effect re-litigate all of the amounts due and owing

under the Note and Mortgage, notwithstanding the pre-petition entry of the Judgment in the



2 The statement that the Debtor provided a check to “a bank employee” is an enigmatic allegation. For instance, this
could mean the Debtor provided a check of $800.00 a bank employee for payment on a credit card account, or even
that the Debtor provided a check of $800.00 for personal reasons to a social acquaintance who happens to work at
the bank. Irrespective of the veracity of this allegation, the statement itself (taken as true) does not logically yield the
conclusion urged by the Debtor.
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Foreclosure proceeding. The Debtor specifically is not asserting that there are any accounting

improprieties occurring during the post-judgment period, i.e. from April 1, 2016 onward. Rather, the

Debtor is asking this Court to re-examine and re-hear the arguments raised by the Debtor in his

Affirmative Defenses to the Foreclosure, which were already heard and considered by the state court

prior to the entry of the Judgment.

            Res Judicata, Collateral Estoppel, and the Rooker-Feldman Doctrine
                 Bar the Re-Litigation of the Issues Raised in the Objection

       8.      The Judgment is and remains a final judgment entered by a Court of competent

jurisdiction. The doctrines of res judicata, collateral estoppel, and Rooker-Feldman prohibit this

Court from reconsidering the validity of the Judgment. “[T]he Full Faith and Credit Act, 28 U.S.C.

§1738, compels a federal court to accord a state court judgment the same preclusive effect that it

would be accorded by the rendering state court.” In re Zoernack, 289 B.R. 220, 226 (Bankr. M.D.

Fla. 2003). In order to effectuate the Full Faith and Credit Act, “federal courts consistently have

applied res judicata and collateral estoppel to causes of action and issues decided by state courts.”

Kremer v. Chemical Constr. Corp., 456 U.S. 461, 467 n.6 (1982). While the Rooker-Feldman

doctrine is closely related to res judicata and collateral estoppel, the purpose of the Rooker-Feldman

doctrine is to limit the jurisdiction of most federal courts over state court litigation. See In re

Zoernack, 289 B.R. at 230. The three doctrines may apply when a debtor asks a bankruptcy court to

second guess an alleged “wrongfully entered” state court order as the Debtor is in effect attempting

to by way of the Objection. Id.

       9.      The doctrine of res judicata precludes the Debtor from asserting a claim challenging

the Judgment, including the amounts due thereunder. Res judicata, or claim preclusion, “bars the

parties to an action from relitigating matters which were or could have been litigated in an earlier
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suit.” Shurick v. Boeing Co., 623 F.3d 1114, 1116 (11th Cir. 2010). In this case, res judicata bars the

consideration of the Objection by this Court, because the matters raised in the Objection were

specifically litigated by the Debtor in the Foreclosure by way of the Debtor’s Answer and

Affirmative Defenses, and resolved by the state court pursuant to the Judgment.

       10.     Likewise, the Debtor is collaterally estopped from re-litigating the amounts due to the

Secured Creditor prior to the entry of the Judgment, as the Judgment was a final judgment entitled to

full faith and credit in the instant bankruptcy proceedings. Collateral estoppel, or issue preclusion,

“prohibits the relitigation of issues that have been adjudicated in a prior action.” Bush v. Balfour

Beatty Bahamas, Ltd. (In re Bush), 62 F.3d 1319, 1322 (11th Cir. 1995). “The basic difference

between res judicata … and collateral estoppel . . . is that [res judicata] applies to whole claims,

whether litigated or not, whereas [collateral estoppel] applies to particular issues that have been

contested or resolved.”     Zoernack, 289 B.R. at 228.        Collateral estoppel likewise bars the

consideration of the Objection by this Court, because the matters raised in the Objection were

specifically litigated by the Debtor in the Foreclosure by way of the Debtor’s Answer and

Affirmative Defenses, and resolved by the state court pursuant to the Judgment.

       11.     In addition, the Rooker-Feldman3 doctrine bars this Court from considering the issues

raised by the Debtor in the Objection. Simply put, the Rooker-Feldman doctrine prevents federal

courts other than the United States Supreme Court from reviewing the final judgments of state

courts. In re Zoernack, 289 B.R. at 230. As discussed above, the Judgment is a final judgment of a

Court of competent jurisdiction. Therefore, the doctrine applies to bar this Court from acting as an

appellate court to re-review the validity or accuracy of the Judgment. Id.

       12.     In sum, the Judgment is entitled to full faith and credit and the doctrines of res
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judicata, collateral estoppel and Rooker-Feldman bar the component of the Objection in which the

Debtor seeks to re-litigate the amounts due to Secured Creditor prior to the entry of the March 31,

2016 Judgment.

        13.      Secured Creditor is reviewing its records with respect to the allegations raised in the

Objection to Claim. However, in the interim Secured Creditor denies that the information contained

in the Proof of Claim is inaccurate and otherwise denies the allegations as stated in the Objection.

To the extent the Court is inclined to consider the substantive issues raised in the Debtor’s Objection,

Secured Creditor respectfully requests the Court schedule an evidentiary hearing to consider the

same.

        14.      Secured Creditor reserves the right to amend or supplement this Response at or in

connection with any hearing set to consider this Matter.

        WHEREFORE, Secured Creditor respectfully requests that Objection to Claim be overruled

as provided herein; and for such other and further relief as the Court may deem just and proper.


                                                             Respectfully submitted,

Dated: January 11, 2018                                      ALDRIDGE | PITE, LLP


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3 The doctrine derives its name from two United States Supreme Court cases: Rooker v. Fidelity Trust Co., 263 U.S.
413 (1923) and District Court of Appeals v. Feldman, 460 U.S. 462 (1983)
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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on January 11, 2018. Service was
accomplished by the method and to the following BY ELECTRONIC NOTICE OR FIRST CLASS
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